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United States District Court,
_ District of Columbia

David Alan Carmichael, et al.
Plaintiffs =

Case No: 19-CV-2316-RC
V.

Antony John Blinken, in his Offiicial
capacity as Secretary of State, et al.,

Ne Nee ee Ne Ne es es

- Defendants

COVER SHEET

Plaintiffs’ Combined Motion To Compel Defendants To
Issue Passport Renewals To Lewis And Pakosz

“ATTACHMENT 5.

Department of State Letter To Plaintiff Pakosz — |
Notice of Passport Denial

Cover sheet plus 1 page
RECEIVED 04/21/2021 40:31AM Oe
Case 1:19-cv-02316-RC Document 84-7 Filed O4lzsied | ne
‘United States Department of State
National Passport Centey:
44132 Mercure Circle —
PO Box 1108
Sterling, Virgins 20] OOLTOS:
April 19, 2021.

 

William Mitchel! Pakosz
P.O. Box 25
Matteson, IL 60443

Dear Mr. Pakosz:

“taken within the six months preceding the issue date.” See os
Fea ave state-g0v/content/travel/en/passportyhow-applyip hotos.html, 8 FAM 402.1, and
ICAO Machine Readable Travel Document 9303 3.9.1. i

new passport photograph and the Department has not received one from you. Absent anew
Q Photograph, the Department cannot Process your passport application at this time and your
application is therefore deni ed on this basis. :
